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UNITED STATES DISTRICT COUR hambers of Vincent L. Briccetti
SOUTHERN DISTRICT OF NEW YORK

 

 

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UNITED STATES OF AMERICA id BELT
ORDER ep
18 CR 585-05 (VB) PU waren an
DARIUS MONROE,
Defendant.
xX

 

On November 1, 2021, the Court received a “motion to reduce sentence under 18 U.S.C.
§ 3582(c)(1)(A)(i)” from defendant Darius Monroe. The motion will be separately docketed.

By Memorandum Opinion and Order dated July 2, 2020 (Doc. #106), the Court denied
Monroe’s previous motion to reduce sentence (Doc. #87), finding that no extraordinary or
compelling reasons warranted Monroe’s early release. The instant motion appears to be
substantially identical to the previous motion, with some additions.

By November 15, 2021, the government shall file a response to the motion. The
government is directed to address the merits of the motion.

Chambers will mail a copy of this Order to defendant at the following address:

Darius Monroe, Reg. No. 85814-054
USP Canaan

U.S. Penitentiary

P.O. Box 300

Waymart, PA 18472

Dated: November 1, 2021
White Plains, NY SO ORDERED:

Vu

Vincent L. Briccetti
United States District Judge

 
